    Case 2:12-cv-00428-DDP-MRW Document 283 Filed 10/03/23 Page 1 of 1 Page ID #:5995
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                                       UNITED STA TES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
ALEX ROSAS and JONATHAN GOODWIN on                             CASE NUMBER:
behalf of themselves and those similarly situated,
                                                                              12-cv-00428 DDP (MRW)
                                              PLAINTIFF(S)
                             V.
ROBERT LUNA, Sheriff of Los                                              NOTICE OF MANUAL FILING
Angeles County, in his official capacity                                       OR LODGING
                                            DEFENDANT(S).

PLEASE TAKE NOTICE:
          Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually D Filed         0    Lodged: (List Documents)

Exhibits to Notice of Under Seal Filing Pursuant to the Court's Order, Dated September 12, 2023:

1. Exhibit 1 - Video (Exhibit A to the Declaration of Peter Eliasberg, dated May 31, 2023)
2. Exhibit 2 - Video (Exhibit B to the Declaration of Peter Eliasberg, dated May 31, 2023)
3. Exhibit 3 - Video (Exhibit C to the Declaration of Peter Elias berg, dated May 31, 2023)
4. Exhibit 4 - Video (Exhibit D to the Declaration of Peter Eliasberg, dated May 31, 2023)
5. Exhibit 5 - Video (Exhibit A to the Declaration of Stephen Sinclair, dated June 12, 2023)
6. Exhibit 6 - Video (Exhibit 3 to the Declaration of Matthew Thomas, dated June 12, 2023)


Reason:
0         Under Seal
D         In Camera
0         Items not conducive toe-filing (i.e., videotapes, CD ROM, large graphic charts)
0         Per Court order dated:    September 12, 2023
D         Other:




October 3, 2023                                                   Isl Robert E. Dugdale
Date                                                             Attorney Name
                                                   Robert Luna, Sheriff of Los Angeles County, in his official capacity
                                                                 Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                               NOTICE OF MANUAL FILING OR LODGING
